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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-MD-3076-MOORE/Sanchez

   IN RE

   FTX CRYPTOCURRENCY EXCHANGE
   COLLAPSE LITIGATION
   _____________________________________

   This Document Relates to All Actions

                       AUDITOR DEFENDANTS’ RESPONSE TO
            PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY [D.E. 559]

           Plaintiffs’ Notice violates Local Rule 7.8 because it is 276 words and fails to cite “the page

   of the motion” to which it relates. See L.R. 7.8.

           Regardless, the Silvergate decision is inapposite as to the Auditor Defendants. There,

   plaintiffs alleged Silvergate Bank, which held deposits and processed transactions on behalf of all

   FTX and Alameda entities, obtained behind-the-scenes knowledge of all these entities’ suspicious

   transfers of customers’ funds through banking-specific compliance and due diligence, and

   developed the “SEN” network, facilitating customer participation in FTX. Further, plaintiffs

   alleged Silvergate profited from holding FTX’s customers’ deposits, showing Silvergate “had a

   strong incentive to continue” facilitating FTX’s business, and its interests were “tightly

   intertwined” with FTX’s. (D.E. 559-1 at *20, *27).

           In contrast, Plaintiffs here make no such allegations as to the independent auditors for FTX

   US and FTX Trading, failing to allege either auditor (1) held or directly benefitted from customers’

   deposits; (2) applied banking-specific diligence, providing them actual knowledge of FTX

   Insiders’ fraud; or (3) developed programs facilitating customer participation in FTX. Thus,




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   Plaintiffs fail to allege the Auditor Defendants had a “strong incentive” to help FTX carry out its

   fraudulent activity, or that their interests were “intertwined” with FTX’s.




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   Dated: April 3, 2024                      Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that on April 3, 2024, I filed a true and correct copy of the foregoing with the Clerk

   of Court via CM/ECF, which will send notice of the same to all counsel and parties of record.

                                                          /s/ Tom K. Schulte




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